Case 23-05593-JJG-7A Doc 99 _ Filed 05/14/24 EOD 05/14/24 07:47:13 Pgiof8

Dear Sir, 5-14-2024

My wife and I are creditors in the Rodney Grubbs bankruptcy case
number 23-05593. These are copies of our four notes that are
delinquent in this case. Would you please record them in PDF form
in your system as we couldn't upload them onto your website.
Thank you,

Rudy and Bonnie Dean

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PROMISSORY NOTE
cae Date: 6/2/2023

One Hundred Eighty (180) days after the above date, for value received, the undersigned promises to
pay to the order of Rudolph Dean or Bonnie Dean

located at 14206 W. Mountain Laurel Trail - Surprise, Arizona 85374

the principal sum of Twenty-Eight Thousand Five Hundred Forty dollars and 62/100 ($28,540.62),

plus an annualized interest rate of Sixteen Percent (16%) APR, payable 12/2/2023.

NOTE: Interest will be compounded monthly throughout the term of this contract.

Repayment shall be in one lump sum, made on or before 12/2/2023.

There is NO early repayment penalty. This is a personal loan with no attached security.

In case suit or collection proceedings shall be brought for the collection of this note, the undersigned
agrees to pay reasonable attorney fees and court costs for making such collection, and also agrees to
waive demand, notice of non-payment, and protest.

This note shall be deemed in default if full principal plus interest is not received by close of business on

December 2, 2023.

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Borrower — Rodney Grubbs

State of Indiana
County of Franklin

\, C OAL Wu ax __, Notary Public in and for the state of Indiana, do
hereby certify that personally appeared before me Rodney Grubbs known to be the individual
described in and who freely and voluntarily executed the within instrument for the deeds and

purposes herein mentioned.

Given under my hand and official seal this \Q day of (mo.) Kudu ck (yr) 2bsB

p.o. box 357 brookville, in 47012

PROMISSORY NOTE

§ 87,468.06 Date: 9/2/2023

Three Hundred (300) days after the above date, for value received, the undersigned promises to pay to

the order of Rudolph Dean or Bonnie Dean
located at 14206 W. Mountain Laurel Trail - Surprise, Arizona 85374
the principal sum of Eighty-Seven Thousand Four Hundred Sixty-Eight doflars and 06/100 ($ 87,468.06),

plus an annualized interest rate of Fifteen Percent (15%) APR, payable 7/2/2024.

NOTE: Interest will be compounded monthly throughout the term of this contract.

Repayment shall be in one lump sum, made on or before 7/2/2024.
There is NO early repayment penalty. This is a personal loan with no attached security.

In case suit or collection proceedings shall be brought for the collection of this note. the undersigned
agrees to pay reasonable attorney fees and court costs for making such collection, and also agrees to

waive demand, notice of non-payment, and protest.

This note shall be deemed in default if full principal plus interest is not received by close of business on

July 2, 2024.

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Borrower — Rodney Grubbs: Member — All About Pickleball, LLC / DBA Pickleball Rocks
State of Indiana « County of Franklin

| Hetore me Rodney Grubbs known to be the individual descnbed in and who freely and voluntanly
executed the withiniuystrument for the deeds and purposes

herein mentioned.
Given under my hand and official seal this 5 _ day of (m0. 44

{Wwblyn aDper

\, Mawar aaybu! . Notary Public in and for the state of Indiana, do hereby certify that
personally appear

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Notary Public

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PROMISSORY NOTE

$ 67,802.95 Date: 8/12/2023

Two Hundred Ten (210) days after the above date, for value received, the undersigned promises to pay
to the order of Rudolph Dean or Bonnie Dean

located at 14206 W. Mountain Laurel Trail in Surprise, Arizona 85374

the principal sum of Sixty-Seven Thousand Eight Hundred Two dollars and 95/100 ($67,802.95),

plus an annualized interest rate of Fifteen Percent (15%) APR, payable 3/12/2024.

NOTE: Interest will be compounded monthly throughout the term of this contract.

Repayment shall be in one lump sum, made on or before 3/12/2024.

There is NO early repayment penalty. This is a personal loan with no attached security.

In case suit or collection proceedings shall be brought for the collection of this note, the undersigned
agrees to pay reasonable attorney fees and court costs for making such collection, and also agrees to

waive demand, notice of non-payment, and protest.

This note shall be deemed in default if full principal plus interest is not received by close of business on

March 12, 2024.

PROMISSORY NOTE

$ 73,962.88 Date: 8/12/2023

Two Hundred Ten (210) days after the above date, for value received, the undersigned promises to pay

to the order of Rudoiph Dean or Bonnie Dean

located at 14206 W. Mountain Laurel Trail in Surprise, Arizona 85374

the principal sum of Seventy-Three Thousand Nine Hundred Sixty-Two dollars and 88/100 ($73,962.88),
plus an annualized interest rate of Fifteen Percent (15%) APR, payable 3/12/2024.

NOTE: Interest will be compounded monthly throughout the term of this contract.

Repayment shail be in one lump sum, made on or before 3/12/2024.

There is NO early repayment penalty. This is a personal loan with no attached security.

In case suit or collection proceedings shall be brought for the collection of this note, the undersigned
agrees to pay reasonable attorney fees and court costs for making such collection, and also agrees to

waive demand, notice of non-payment, and protest.

This note shal! be deemed in default if full principal plus interest is not received by close of business on

March 12, 2024.

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LA /y Ave! ee
Borrower — Rodney Grubbs
State of Indiana
County of Franklin
\, Cash\era Vk _ Notary Public in and for the state of Indiana, do
hereby certify that personally appeared before me Rodney Grubbs known fo be the individual
described in and who freely and voluntarily executed the within instrument for the deeds and
purposes herein mentioned.

Given under my hand and official seal this 4. day of (mo.) Aug rok (yr) 2023.

Notary Public

Nolary Punto, Stele of noiana
Freréin

County
Commission Rurnber, NPOSE 1008
My Conenlasen Expires 12-02-2080

p.o. box 357 brookville, in 47012
